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                  EXHIBIT B-4
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                                 UNITED STATES DISTRICT COURT
13
                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
14

15    CHASOM BROWN, et al., on behalf of              Case No. 5:20-cv-03664-LHK-SVK
      themselves and all others similarly situated,   Case No. 5:20-cv-05146-LHK-SVK
16
            Plaintiffs,                               AFFIDAVIT OF STEVEN M. BAUER
17                                                    PURSUANT TO 28 U.S.C. § 455
                   v.
18                                                    Referral: Hon. Susan van Keulen, USMJ
      GOOGLE LLC,
19
             Defendant.
20

21 PATRICK CALHOUN, et al., on behalf of
   themselves and all others similarly situated,
22
          Plaintiffs,
23
                 v.
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     GOOGLE LLC,
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          Defendant.
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28
                                                                     Case No. 5:20-cv-03664-LHK-SVK
                                                                     Case No. 5:20-cv-05146-LHK-SVK
                                          AFFIDAVIT OF STEVEN M. BAUER PURSUANT TO 28 U.S.C. § 455
Case 4:20-cv-03664-YGR Document 205-9 Filed 06/29/21 Page 3 of 4
      Case 4:20-cv-03664-YGR Document 205-9 Filed 06/29/21 Page 4 of 4




 1                                          ATTESTATION

 2         Pursuant to Civil Local Rule 5.1, I hereby attest that Steven M. Bauer, represented by a

 3 conformed signature above, has concurred in the filing of this Affidavit.

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 5   DATED: June 28, 2021                             /s/ Andrew H. Schapiro
                                                      Andrew H. Schapiro
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                                                                     Case No. 5:20-cv-03664-LHK-SVK
                                                     2               Case No. 5:20-cv-05146-LHK-SVK
                                          AFFIDAVIT OF STEVEN M. BAUER PURSUANT TO 28 U.S.C. § 455
